    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 1 of 19




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    '
                                            '
      v.                                    '   CRIMINAL NO. H-4:19-cr-00783
                                            '
KENENTY KIM, a/k/a MYUNG KIM,               '
                                            '
             Defendant.                     '

                                PLEA AGREEMENT

      The United States of America, by and through Ryan K. Patrick, United States

Attorney for the Southern District of Texas, and Adam Laurence Goldman, Assistant

United States Attorney, and the defendant, Kenenty Kim, a/k/a Myung Kim (“Defendant”),

and Defendant=s counsel, pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal

Procedure, state that they have entered into an agreement, the terms and conditions of

which are as follows:

                                Defendant=s Agreement

      1. Defendant agrees to plead guilty to Count 1 of the Information. Count 1

charges Defendant with Conspiracy to commit money laundering, in violation of Title 18,

United States Code, Section 1956(h). Defendant, by entering this plea, agrees that he is

waiving any right to have the facts that the law makes essential to the punishment either

charged in the information, or proved to a jury or proven beyond a reasonable doubt.

                                  Punishment Range

      2. The statutory maximum penalty for each violation of Title 18, United States

Code, Section 1956(h), is imprisonment of not more than 20 years and a fine of not more
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 2 of 19




than $500,000.00 or twice the value of the property involved in the transactions, whichever

is greater.    Additionally, Defendant may receive a term of supervised release after

imprisonment of up to 3 years. See Title 18, United States Code, sections 3559(a)(3) and

3583(b)(2).     Defendant acknowledges and understands that if he should violate the

conditions of any period of supervised release which may be imposed as part of his

sentence, then Defendant may be imprisoned for up to 2 years, without credit for time

already served on the term of supervised release prior to such violation. See Title 18,

United Stated Code, sections 3559(a)(3) and 3583(e)(3). Defendant understands that he

cannot have the imposition or execution of the sentence suspended, nor is he eligible for

parole.

                              Mandatory Special Assessment

          3. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately

after sentencing, Defendant will pay to the Clerk of the United States District Court a

special assessment in the amount of one hundred dollars ($100.00) per count of conviction.

The payment will be by cashier=s check or money order, payable to the Clerk of the United

States District Court, c/o District Clerk=s Office, P.O. Box 61010, Houston, Texas 77208,

Attention: Finance.

                                Immigration Consequences

          4. Defendant recognizes that pleading guilty may have consequences with respect

to his immigration status. Defendant understands that if he is not a citizen of the United

States, by pleading guilty he may be removed from the United States, denied citizenship,
                                             2
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 3 of 19




and denied admission to the United States in the future. Defendant understands that if he

is a naturalized United States citizen, pleading guilty may result in immigration

consequences, such as denaturalization and potential deportation or removal from the

United States. Defendant’s attorney has advised Defendant of the potential immigration

consequences resulting from Defendant’s plea of guilty, and Defendant affirms that he

wants to plead guilty regardless of any immigration consequences that may result from the

guilty plea and conviction.

                                       Cooperation

       5. The parties understand this agreement carries the potential for a motion for

departure under Section 5K1.1 of the Sentencing Guidelines. Defendant understands and

agrees that whether such a motion is filed will be determined solely by the United States

through the United States Attorney for the Southern District of Texas. Should Defendant=s

cooperation, in the sole judgment and discretion of the United States, amount to

“substantial assistance,” the United States reserves the sole right to file a motion for

departure pursuant to Section 5K1.1 of the United States Sentencing Guidelines.

Defendant further agrees to persist in that plea through sentencing, fully cooperate with the

United States, not oppose the forfeiture of assets contemplated in paragraphs 17-27 of this

agreement. Defendant understands and agrees that the United States will request that

sentencing be deferred until that cooperation is complete.

       6. Defendant understands and agrees that “fully cooperate,” as that term is used

herein, includes providing all information relating to any criminal activity known to
                                             3
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 4 of 19




Defendant, including but not limited to wire fraud and money laundering. Defendant

understands that such information includes both state and federal offenses arising

therefrom. In that regard:

      (a)    Defendant agrees that this plea agreement binds only the United States
      Attorney for the Southern District of Texas and Defendant; it does not bind
      any other United States Attorney or any other unit of the Department of
      Justice;

      (b)    Defendant agrees to testify truthfully as a witness before a grand jury
      or in any other judicial or administrative proceeding when called upon to do
      so by the United States. Defendant further agrees to waive his Fifth
      Amendment privilege against self-incrimination for the purpose of this
      agreement;

      (c)    Defendant agrees to voluntarily attend any interviews and conferences
      as the United States may request;

      (d)    Defendant agrees to provide truthful, complete and accurate
      information and testimony and understands any false statements made by the
      defendant to the Grand Jury or at any court proceeding (criminal or civil), or
      to a government agent or attorney, can and will be prosecuted under the
      appropriate perjury, false statement, or obstruction statutes;

      (e)    Defendant agrees to provide to the United States all documents in his
      possession or under his control relating to all areas of inquiry and
      investigation; and

      (f)     Should the recommended departure, if any, not meet Defendant=s
      expectations, the Defendant understands that he remains bound by the terms
      of this agreement and cannot, for that reason alone, withdraw his plea.

                       Waiver of Appeal and Collateral Review

       7. Defendant is aware that Title 28, United States Code, section 1291, and Title

18, United States Code, section 3742, afford a defendant the right to appeal the conviction

and sentence imposed. Defendant is also aware that Title 28, United States Code, section
                                            4
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 5 of 19




2255, affords the right to contest or “collaterally attack” a conviction or sentence after the

judgment of conviction and sentence has become final.            Defendant knowingly and

voluntarily waives the right to appeal or “collaterally attack” the conviction and sentence,

except that Defendant does not waive the right to raise a claim of ineffective assistance of

counsel on direct appeal, if otherwise permitted, or on collateral review in a motion under

Title 28, United States Code, section 2255. In the event Defendant files a notice of appeal

following the imposition of the sentence or later collaterally attacks his conviction or

sentence, the United States will assert its rights under this agreement and seek specific

performance of these waivers.

       8. In agreeing to these waivers, Defendant is aware that a sentence has not yet been

determined by the Court. Defendant is also aware that any estimate of the possible

sentencing range under the sentencing guidelines that he may have received from his

counsel, the United States or the Probation Office, is a prediction and not a promise, did

not induce his guilty plea, and is not binding on the United States, the Probation Office or

the Court. The United States does not make any promise or representation concerning

what sentence the defendant will receive. Defendant further understands and agrees that

the United States Sentencing Guidelines are “effectively advisory” to the Court. See

United States v. Booker, 543 U.S. 220 (2005). Accordingly, Defendant understands that,

although the Court must consult the Sentencing Guidelines and must take them into account

when sentencing Defendant, the Court is not bound to follow the Sentencing Guidelines

nor sentence Defendant within the calculated guideline range.
                                              5
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 6 of 19




       9. Defendant understands and agrees that each and all waivers contained in the

Agreement are made in exchange for the concessions made by the United States in this

plea agreement.

                             The United States= Agreements

       10. The United States agrees to each of the following:

       (a)    If the Court determines that Defendant qualifies for an adjustment
       under section 3E1.1(a) of the United States Sentencing Guidelines, and the
       offense level prior to operation of section 3E1.1(a) is 16 or greater, the United
       States will move under section 3E1.1(b) for an additional one-level reduction
       because Defendant timely notified authorities of his intent to plead guilty,
       thereby permitting the United States to avoid preparing for trial and
       permitting the United States and the Court to allocate their resources more
       efficiently.

       (b)     In applying United States Sentencing Guideline Subsection
       2B1.1(b)(1), if the difference between the actual loss and intended loss is two
       offense levels or less, the United States will recommend that actual loss
       amount shall be applied. In applying United States Sentencing Guideline
       Subsection 2B1.1(b)(1), if the difference between the actual loss and
       intended loss is greater than two offense levels or less, the United States will
       still recommend that the intended loss amount be reduced by two offense
       levels and Defendant does not waive his right to argue at sentencing that the
       actual loss as opposed to the intended loss is nevertheless the proper amount
       to be considered in applying U.S.S.G. § 2B1.1(b)(1). In addition, in
       applying United States Sentencing Guideline Subsection 2B1.1(b)(1), the
       United States agrees that any loss amount will not include a claim made by
       Sang Kim that there was any loss or wire transfer involving Defendant of
       approximately 90 million dollars into Bank of America account ending in
       9692, as there is insufficient evidence to support that claim by Sang Kim.

                               Agreement Binding –
        Southern District of Texas and Western District of Washington Only

       11. The United States Attorney’s Office for the Southern District of Texas agrees

that it will not further criminally prosecute Defendant in the Southern District of Texas and
                                              6
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 7 of 19




Western District of Washington for offenses arising from conduct charged in the

information. This plea agreement binds only the United States Attorney’s Offices for the

Southern District of Texas and Western District of Washington and Defendant. It does

not bind any other United States Attorney’s Office. The United States Attorney’s Office

for the Southern District of Texas will bring this plea agreement and the full extent of

Defendant’s cooperation to the attention of other prosecuting offices, if requested.

                          United States= Non-Waiver of Appeal

       12. The United States reserves the right to carry out its responsibilities under

guidelines sentencing. Specifically, the United States reserves the right:

       (a)   to bring its version of the facts of this case, including its evidence file
       and any investigative files, to the attention of the Probation Office in
       connection with that office=s preparation of a presentence report;

       (b)    to set forth or dispute sentencing factors or facts material to
       sentencing;

       (c)   to seek resolution of such factors or facts in conference with
       Defendant=s counsel and the Probation Office;

       (d)   to file a pleading relating to these issues, in accordance with section
       6A1.2 of the United States Sentencing Guidelines and Title 18, United States
       Code, section 3553(a); and

       (e)   to appeal the sentence imposed or the manner in which it was
       determined.

                                 Sentence Determination

       13. Defendant is aware that the sentence will be imposed after consideration of the

United States Sentencing Guidelines and Policy Statements, which are only advisory, as

                                              7
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 8 of 19




well as the provisions of Title 18, United States Code, section 3553(a).          Defendant

nonetheless acknowledges and agrees that the Court has authority to impose any sentence

up to and including the statutory maximum set for the offense(s) to which Defendant pleads

guilty, and that the sentence to be imposed is within the sole discretion of the sentencing

judge after the Court has consulted the applicable Sentencing Guidelines. Defendant

understands and agrees that the parties’ positions regarding the application of the

Sentencing Guidelines do not bind the Court and that the sentence imposed is within the

discretion of the sentencing judge. If the Court should impose any sentence up to the

maximum established by statute, or should the Court order any or all of the sentences

imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty

plea, and will remain bound to fulfill all of the obligations under this plea agreement.

                                      Rights at Trial

       14. Defendant understands that by entering into this agreement, he surrenders

certain rights as provided in this plea agreement. Defendant understands that the rights of

a defendant include the following:

       (a)    If Defendant persisted in a plea of not guilty to the charges, defendant
       would have the right to a speedy jury trial with the assistance of counsel.
       The trial may be conducted by a judge sitting without a jury if Defendant, the
       United States, and the court all agree.

       (b)     At a trial, the United States would be required to present witnesses
       and other evidence against Defendant. Defendant would have the
       opportunity to confront those witnesses and his attorney would be allowed to
       cross-examine them. In turn, Defendant could, but would not be required
       to, present witnesses and other evidence on his own behalf. If the witnesses

                                             8
     Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 9 of 19




      for Defendant would not appear voluntarily, he could require their attendance
      through the subpoena power of the court; and

      (c)    At a trial, Defendant could rely on a privilege against self-
      incrimination and decline to testify, and no inference of guilt could be drawn
      from such refusal to testify. However, if Defendant desired to do so, he
      could testify on his own behalf.

                                Factual Basis for Guilty Plea

      15.        Defendant is pleading guilty because he is in fact guilty of the charges

contained in Count 1 of the information. If this case were to proceed to trial, the United

States could prove each element of the offense beyond a reasonable doubt. The following

facts, among others would be offered to establish Defendant=s guilt:

            I.       Overview

      A business email compromise (BEC) is a scheme to defraud businesses. It involves

the use of “spoof” email addresses, which are email addresses with confusingly similar

domain names to “hacked” email accounts, to create fictitious transactions, or to “hijack”

legitimate transactions, in an effort to convince a victim company or individual to send

funds to an account that is actually controlled by those who created the BEC.

            II.      The Solid Bridge/Chance Scheme

      Solid Bridge Constructions, LLC (“Solid Bridge”) is a general contracting company

located in Huntsville, Texas, which is within the Southern District of Texas. Chance

Contracting, LLC (“Chance”) is a subcontracting company located in Pinehurst, Texas,

which is within the Southern District of Texas. Chance has been a subcontractor of Solid

Bridge in the past for construction work in which Solid Bridge would pay Chance for the
                                              9
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 10 of 19




services Chance performed.

      In 2018, Solid Bridge received emails that appeared to come from Brett Chance, the

owner of Chance.     However, these emails were sent from an email address with a

confusingly similar domain name/address to that of Chance. The emails claimed that

Chance was having “issues” receiving check payments from Solid Bridge and the emails

asked Solid Bridge to mail a check to Chance at 6602 63rd Street West, University Place,

Washington, 98467. Solid Bridge complied and on June 25, 2018, it sent a check to

Chance at that address for $210,312.00. Solid Bridge believed this payment was pursuant

to a legitimate invoice from Chance. Chance never received the money.

      Instead, on June 29, 2018, the aforementioned check was deposited into an account

ending in “0332” that was controlled by Defendant at the Columbia Bank, 84th and Pacific

in Tacoma, Washington. Defendant had opened this account in March, 2018 under the

name “Kenenty H. Kim, d/b/a/ Reg Construction Solution.” In opening this account,

Defendant listed his email address as KenKimWA@gmail.com. Defendant also listed his

street address for the account as 6602 63rd Street West, University Place, Washington

98467, which is the same address to which Solid Bridge sent the aforementioned check.

Immediately before depositing the check on June 29, 2018, however, Defendant added a

“d/b/a” (“doing business as”) of “Chance Contracting” to the bank account. Attached to

the request to add that “d/b/a” was a Business License Application from the State of

Washington Department of Revenue indicating that Defendant was the owner of Chance

Contracting at the aforementioned address. This application was obtained on that same
                                          10
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 11 of 19




date (June 29, 2018) because Defendant modified his already existing business license

application for Reg Construction Solution by adding Chance Construction as a trade name

to that business license.

       After depositing this check, Defendant withdrew $4,500.00 from this account in an

over the counter transaction on July 2, 2018, and withdrew another $10,000 from this

account in an over the counter transaction on July 11, 2018. Defendant also had several

other withdrawals from this account via debit card transactions. Then, on July 11, 2018,

Defendant wired $190,000.00 from this account to a UniBank account ending in “9678.”

Defendant opened this UniBank account on December 15, 2017 and used the address of

6602 63rd Street West, University Place, Washington 98467 in so doing. The day after

this money was wired to the abovementioned UniBank account, Defendant wired

$60,000.00, and later another $40,000.00, from the UniBank account to Siyabonga

Dlamini, who had an address in South Africa.

           III.   The Electrolux Scheme

       On January 8, 2019, Electrolux Major Appliances North America (“Electrolux”)

wired $333,208.85 to a KeyBank account ending in “1294” that it believed, based on email

communications, was going to one of its (Electrolux) vendors. The abovementioned

KeyBank account was opened by an unindicted co-conspirator on December 28, 2017 with

Defendant’s knowledge and which Defendant utilized.

       On January 9, 2019, Defendant and that unindicted co-conspirator visited a

KeyBank branch and obtained a $220,000.00 cashier’s check from that account (1294).
                                           11
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 12 of 19




The cashier’s check was made out to Myung Kim, which is a name Defendant has

previously used. Withdrawn at the same time from the same account was $10,000 in cash,

and as established by security camera footage, Defendant and the unindicted co-conspirator

were standing next to each other at the bank teller counter with one or both of them making

the cash withdrawal.

       Defendant deposited the abovementioned $220,000.00 cashier’s check into his

Wells Fargo bank account ending in “18884,” which he opened using his alias of Myung

H. Kim.

       Meanwhile, on January 10, 2019, the unindicted co-conspirator wired $50,000.00

from the KeyBank account 1294 to Siyabonga Dlamini, who had an address in South

Africa.

       On January 16, 2019, Defendant registered “Kugu Palpal Invest Develop LLC” with

the State of Washington Secretary of State, Corporations and Charities Division, and, in so

doing, used the name Myung Kim and the email account KenKimWA@gmail.com. Then,

on January 18, 2019, Defendant opened a KeyBank account ending in “7661” in the name

of Kugu Palpal Invest Develop.

       On the same day (January 18, 2019), Defendant made withdrawals of $170,000.00,

$38,000.00, and $6,000.00 from his abovementioned Wells Fargo bank account ending in

“18884.” Then, on January 22, 2019, Defendant deposited $170,000.00 into his newly

created KeyBank account ending in “7661.” On January 23, 2019, Defendant opened a

bank account in the name of Kugu Palpal Invest Develop LLC with Bank of America
                                            12
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 13 of 19




ending in “6638.” That same day, Defendant withdrew $172,700.00 from his KeyBank

account ending in “7661” and deposited it into his new Bank of America account ending

in “6638.” Then, on January 30, 2019, Defendant wired $160,000.00 from his Bank of

America account ending in “6638” to Siyabonga Dlamini, who had an address in South

Africa.

                                Breach of Plea Agreement

       16. If Defendant should fail in any way to fulfill completely all of the obligations

under this plea agreement, the United States will be released from its obligations under the

plea agreement, and Defendant=s plea and sentence will stand. If at any time Defendant

retains, conceals, or disposes of assets in violation of this plea agreement, or if Defendant

knowingly withholds evidence or is otherwise not completely truthful with the United

States, then the United States may move the Court to set aside the guilty plea and reinstate

prosecution. Any information and documents that have been disclosed by Defendant,

whether prior to or subsequent to this plea agreement, and all leads derived therefrom, will

be used against defendant in any prosecution.

                     Restitution, Forfeiture, and Fines – Generally

       17. This Plea Agreement is being entered into by the United States on the basis of

Defendant’s express representation that he will make a full and complete disclosure of all

assets over which he exercises direct or indirect control, or in which he has any financial

interest. Defendant agrees not to dispose of any assets or take any action that would effect


                                             13
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 14 of 19




a transfer of property in which he has an interest, unless Defendant obtains the prior written

permission of the United States.

       18.    Defendant agrees to make complete financial disclosure by truthfully

executing a sworn financial statement (Form OBD-500 or similar form) within 14 days of

signing this plea agreement. Defendant agrees to authorize the release of all financial

information requested by the United States, including, but not limited to, executing

authorization forms permitting the United States to obtain tax information, bank account

records, credit histories, and social security information. Defendant agrees to discuss and

answer any questions by the United States relating to Defendant’s complete financial

disclosure.

       19. Defendant agrees to take all steps necessary to pass clear title to forfeitable

assets to the United States and to assist fully in the collection of restitution and fines,

including, but not limited to, surrendering title, executing a warranty deed, signing a

consent decree, stipulating to facts regarding the transfer of title and the basis for the

forfeiture, and signing any other documents necessary to effectuate such transfer.

Defendant also agrees to direct any banks which have custody of his assets to deliver all

funds and records of such assets to the United States.

       20.    Defendant understands that forfeiture, restitution, and fines are separate

components of sentencing and are separate obligations.




                                             14
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 15 of 19




                                        Restitution

       21. Defendant agrees to pay full restitution to the victims regardless of the count

of conviction. Defendant stipulates and agrees that as a result of his criminal conduct, the

victims incurred a monetary loss of at least $745,540.70. Defendant understands and

agrees that the Court will determine the amount of restitution to fully compensate the

victims. Defendant agrees that restitution imposed by the Court will be due and payable

immediately and that Defendant will not attempt to avoid or delay payment. Subject to

the provisions of paragraph 7 above, Defendant waives the right to challenge in any

manner, including by direct appeal or in a collateral proceeding, the restitution order

imposed by the Court.

                                         Forfeiture

       22. Defendant stipulates and agrees that the property listed in the Information’s

Notice of Forfeiture (and in any supplemental Notices) is subject to forfeiture, and

Defendant agrees to the forfeiture of that property. In particular, but without limitation,

Defendant stipulates that the following specific property is subject to forfeiture:

       23. Defendant stipulates and agrees that Defendant obtained at least $745,540.70

from the criminal offenses and that the factual basis for his guilty plea supports the

forfeiture of at least $745,540.70. Defendant agrees to forfeit any of Defendant’s property

in substitution, up to a total forfeiture of at least $745,540.70. Defendant agrees to the

imposition of a personal money judgment in that amount.


                                             15
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 16 of 19




       24. Defendant agrees to waive any and all interest in any asset which is the subject

of a related administrative or judicial forfeiture proceeding, whether criminal or civil,

federal or state.

       25. Defendant consents to the order of forfeiture becoming final as to Defendant

immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure

32.2(b)(4)(A).

       26. Subject to the provisions of paragraph 7 above, Defendant waives the right to

challenge the forfeiture of property in any manner, including by direct appeal or in a

collateral proceeding.

                                          Fines

       27. Defendant understands that under the Sentencing Guidelines the Court is

permitted to order Defendant to pay a fine that is sufficient to reimburse the government

for the costs of any imprisonment or term of supervised release, if any. Defendant agrees

that any fine imposed by the Court will be due and payable immediately, and Defendant

will not attempt to avoid or delay payment. Subject to the provisions of paragraph 7

above, Defendant waives the right to challenge the fine in any manner, including by direct

appeal or in a collateral proceeding.

                                  Complete Agreement

       28. This written plea agreement, consisting of 19 pages, including the attached

addendum of Defendant and his attorney, constitutes the complete plea agreement between

the United States, Defendant, and Defendant’s counsel. No promises or representations
                                            16
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 17 of 19




have been made by the United States except as set forth in writing in this plea agreement.

Defendant acknowledges that no threats have been made against him and that he is pleading

guilty freely and voluntarily because he is guilty.

       29. Any modification of this plea agreement must be in writing and signed by all
parties.

                      Houston
       Filed at _________________,               June 2
                                   Texas, on __________________________     20
                                                                        , 20__.


                                                    /s/ Kenenty Kim*
                                                    ______________________________
                                                    Kenenty Kim, a/k/a Myung Kim
                                                    Defendant *Signed by Judge Hanks with
                                                                Defendant's permission

                                                June 2
       Subscribed and sworn to before me on _____________________________      20
                                                                          , 20__.

                                           DAVID J. BRADLEY, Clerk
                                           UNITED STATES DISTRICT CLERK


                                    By:     /s/ Susan Gram
                                           _________________________________
                                           Deputy United States District Clerk

APPROVED:

       Ryan K. Patrick
       United States Attorney


By: /s/ ____________________________
        Adam Laurence Goldman*                      ____________________________
                                                      /s/ John Dennis Hester*
       Adam Laurence Goldman                        John Dennis Hester
       Assistant United States Attorney             Attorney for Defendant
       Southern District of Texas
       Telephone: 713-567-9534
       Facsimile: 713-718-3303                    *Signed by Judge Hanks with
                                                  John Hester's permission
*Signed by Judge Hanks with
Adam Goldman's permission

                                             17
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 18 of 19




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                   '
                                           '
      v.                                   '    CRIMINAL NO. H-4:19-cr-00783
                                           '
KENENTY KIM, a/k/a MYUNG KIM,              '
                                           '
             Defendant.                    '

                        PLEA AGREEMENT -- ADDENDUM

      I have fully explained to Defendant his rights with respect to the pending

information. I    have reviewed the provisions of the United States Sentencing

Commission’s Guidelines Manual and Policy Statements and I have fully and carefully

explained to Defendant the provisions of those Guidelines which may apply in this case.

I have also explained to Defendant that the Sentencing Guidelines are only advisory and

the court may sentence Defendant up to the maximum allowed by statute per count of

conviction. Further, I have carefully reviewed every part of this plea agreement with

Defendant. To my knowledge, Defendant=s decision to enter into this agreement is an

informed and voluntary one.

 /s/ John Dennis Hester*
_________________________________                     June 2, 2020
                                                  ____________________________
John Dennis Hester       *Signed by Judge          Date
Attorney for Defendant   Hanks with John Hester's permission

      I have consulted with my attorney and fully understand all my rights with respect to

the information pending against me. My attorney has fully explained, and I understand,

all my rights with respect to the provisions of the United States Sentencing Commission’s
                                           18
    Case 4:19-cr-00783 Document 45 Filed on 06/02/20 in TXSD Page 19 of 19




Guidelines Manual which may apply in my case. I have read and carefully reviewed every

part of this plea agreement       with my attorney.   I understand this agreement and I

voluntarily agree to its terms.


 /s/ Kenenty Kim*
_________________________________                   June 2, 2020
                                                 ____________________________
Kenenty Kim, a/k/a Myung Kim                      Date
Defendant


*Signed by Judge Hanks with
Kenenty Kim's permission




                                            19
